     Case 3:08-cr-00006-LRH-WGC                Document 187     Filed 12/16/10      Page 1 of 6




 1

 2

 3

 4

 5

 6                                     UNITED STATES DISTRICT COURT

 7                                            DISTRICT OF NEVADA

 8                                                     ***
                                                       )
 9   UNITED STATES OF AMERICA,                         )
                                                       )
10                        Plaintiff,                   )      3:08-CR-0006-LRH-RAM
                                                       )
11   v.                                                )
                                                       )      ORDER
12   DARIN JEROME FRENCH, and                          )
     JENNIFER LYNN FRENCH                              )
13                                                     )
                          Defendants.                  )
14                                                     )

15          Before the court is defendants Darin Jerome French and Jennifer Lynn French’s

16   (collectively “defendants”) various pretrial motions including: (1) motion challenging defects in

17   superseding indictment (Doc. #1661); (2) motion requesting discovery (Doc. #167); (3) motion to

18   unseal grand jury transcripts (Doc. #168); (4) motion requesting return of tape recordings

19   (Doc. #169); (5) motion challenging surplusage in superseding indictment (Doc. #170); and

20   (6) second motion to extend pretrial deadline (Doc. #171).

21   I.     Facts and Background

22          On January 16, 2008, defendants were indicted on charges of mail and wire fraud. Doc. #1.

23   Defendants, owners and operators of the business Look What We Got (“LWWG”), allegedly

24   advertized the sale of high end kitchen appliances through the services of the internet site E-bay.

25

26          1
                Refers to the court’s docket number.
     Case 3:08-cr-00006-LRH-WGC              Document 187         Filed 12/16/10      Page 2 of 6




 1   As part of the advertisements, consumers were directed away from E-bay to an off-site website for

 2   LWWG and contacted by defendants via e-mail for pricing and purchasing information. The

 3   defendants allegedly accepted customer orders and payments by credit card, money order, or wire

 4   transfer, but would ultimately fail to deliver the purchased merchandise and keep the customer’s

 5   payment by perpetually delaying a refund. On April 29, 2009, a superseding indictment was issued

 6   as to both defendants. Doc. #60. The superseding indictment charges defendants in Counts 1

 7   through 32 with mail fraud in violation of 18 U.S.C. § 1341; Counts 33 through 58 with wire fraud

 8   in violation of 18 U.S.C. § 1343; Counts 59 through 61 with money laundering in violation of 18

 9   U.S.C. § 1957; and County 62 with money laundering in violation of 18 U.S.C. § 1956(a)(1)(B)(I).

10   Doc. #60.

11          On October 19, 2010, the court re-opened and extended the pretrial deadline to allow

12   defendants, representing themselves pro se, to file pretrial motions. Doc. #160. Thereafter, the

13   defendants filed the present motions. Doc. ##166, 167, 168, 169, 170, 171. The court shall address

14   each motion below.

15   II.    Motion Challenging Indictment (Doc. #166)

16          On April 29, 2009, the Government filed a superseding indictment adding several counts

17   for money laundering in violation of 18 U.S.C. §§ 1957 and 1956(a)(1)(B)(I). Doc. #60.

18   Defendants now move the court to strike or dismiss the money laundering counts because they

19   argue that there is no evidence that there was any “profit” generated by the LWWG business in

20   violation of the money laundering statutes. See Doc. #166.

21          The court finds that defendants’ arguments are matters of fact for the jury. Defendants are

22   accused of engaging in monetary transactions using property derived from criminal activity. See

23   Doc. #60. In their motion, defendants contend that these accusations are false, and that the money

24   withdrawn from the LWWG account was their employee wages for running the business, not the

25   proceeds of criminal activity. This is a factual dispute that should be resolved by the jury at trial at

26
                                                        2
     Case 3:08-cr-00006-LRH-WGC             Document 187        Filed 12/16/10     Page 3 of 6




 1   which the Government will have to prove beyond a reasonable doubt that the withdrawal

 2   transactions were proceeds of defendants’ scheme. Accordingly, the court shall deny defendants’

 3   motion.

 4   III.   Motion Requesting Discovery (Doc. #167)

 5          Defendants seek an order from the court requiring the Government to turn over all

 6   discovery. Defendants argue that the Government has not produced certain discovery in the 20,000

 7   documents already turned over. Specifically, defendants contend that they have not received a U.S.

 8   Postal Inspector report, a consumer fraud report filed with the Nevada Attorney General’s office,

 9   and various customer complaints filed with local police departments. See Doc. #167.

10          In opposition to defendants’ motion, the Government has certified to the court that all

11   discovery has been turned over pursuant to the joint discovery plan and Rule 16 of the Federal

12   Rules of Criminal Procedure, and that the requested documents either do not exist, or were never in

13   the Government’s possession. See Doc. #176. Accordingly, the court shall deny defendants’

14   motion requesting discovery based upon the Government’s certification that all discovery has been

15   provided.

16   IV.    Motion To Unseal Grand Jury Transcripts (Doc. #168)

17          Defendants seek an order from the court unsealing the grand jury transcripts. The court may

18   unseal grand jury transcripts in a criminal action, “at the request of a defendant who shows that a

19   ground may exist to dismiss the indictment because of a matter that occurred before the grand

20   jury.” FED. R. CRIM. P. 6(e)(3)(E)(ii). However, “[a] trial judge should order disclosure of grand

21   jury transcripts only when the party seeking them has demonstrated that a particularized need

22   outweighs the policy of secrecy.” United States v. Walczak, 783 F.2d 852, 857 (9th Cir. 1986)

23   (emphasis added). Mere “unsubstantiated, speculative assertions of improprieties in the

24   proceedings” do not support a finding of particular need. United States v. Ferreboeuf, 632 F.2d

25   832, 835 (9th Cir. 1980).

26
                                                       3
     Case 3:08-cr-00006-LRH-WGC             Document 187        Filed 12/16/10      Page 4 of 6




 1          The court finds that defendants’ motion fails to provide a particularized need. In their

 2   motion, defendants argue that the “unsealing of the Grand Jury transcripts will determine, who

 3   actually committed the perjury to the members of the Grand Jury, and if the Prosecution remained

 4   silent knowing perjured evidence/testimony had been submitted to the Grand Jury.” Doc. #168.

 5   Defendants’ statement establishes that they have no actual proof of perjury before the Grand Jury.

 6   Further, they offer nothing in support of their motion but speculative assertions and inadmissible

 7   unauthenticated single page documents attached as exhibits. See Orr v. Bank of America, 285 F.3d

 8   764 (9th Cir. 2002). A court should deny a motion to unseal when the motion presents itself as

 9   nothing more than an “across the board fishing expedition.” United States v. Kim, 577 F.2d 473,

10   478 (9th Cir. 1978). Accordingly, the court shall deny defendants’ motion to unseal.

11   V.     Motion Requesting Return of Tape Recordings (Doc. #169)

12          During the underlying investigation of LWWG, the Government conducted an allegedly

13   warrantless search of defendants’ abandoned trailers in Sparks, Nevada. Defendants argue that all

14   property seized from the trailers, including various tape recordings with LWWG customers, should

15   be returned pursuant to Rule 41 of the Federal Rules of Criminal Procedure. See FED. R. CRIM. P.

16   41(g) (“A person aggrieved by an unlawful search and seizure of property or by the deprivation of

17   property may move for the property’s return.”).

18          However, the evidence provided by defendants establish that only a single box of assorted

19   documents were taken from the trailer. See Doc. #169, Exhibit 1 (“The only evidence taken was

20   one box of assorted documents taken from the 48' trailer.”); Doc. #169, Exhibit 2 (“1 Box of

21   assorted documents taken from a trailer, 48' in length, bearing Main license plate 18TLR38309.”).

22   There is no evidence that there was any other property in the trailers, including the requested tape

23   recordings, at the time of the search. Further, the government has already certified that the

24   aforementioned documents were provided to defendants as part of the discovery in this action. See

25   Doc. #178; Doc. #176. Accordingly, the court shall deny defendants’ motion to return property.

26
                                                       4
     Case 3:08-cr-00006-LRH-WGC             Document 187         Filed 12/16/10       Page 5 of 6




 1   VI.    Motion Challenging Surplusage in Superseding Indictment (Doc. #170)

 2          Defendants challenge the superseding indictment arguing that various statements in the

 3   indictment should be stricken by the court as surplusage. See Doc. #170. The superseding

 4   indictment states:

 5          “It was part of the scheme and artifice that the Defendants would: (1) Artificially

 6          establish a positive feedback record at e-Bay by initially selling low cost

 7          merchandise. (2) Shill feedback - artificially establishing a positive feedback record

 8          at e-Bay by establishing multiple user Ids for themselves at e-Bay and then leaving

 9          positive feedback in the guise of other legitimate buyers and sellers. (3) That when

10          victims found items on e-Bay and attempted to purchase items, they would be

11          diverted to the LWWG.com website or were sent an e-mail asking them to call

12          LWWG directly for price quotes. This was designed to give the victims the false

13          impression they were purchasing products still protected by e-Bay policy when in fact

14          they were “off-site” purchases. (4) The Defendants represented they were authorized

15          dealers and were able to sell specific brands at discounted prices.”

16   Doc. #60. Defendants argue that there is no evidence to support or prove these accusations,

17   and therefore, these statements should be stricken from the indictment and the correlating

18   charges for mail and wire fraud in violation of 18 U.S.C. §§ 1341, 1346 should be dismissed.

19          Rule 7 of the Federal Rules of Criminal Procedure provides that “[u]pon the

20   defendant’s motion, the court may strike surplusage from the indictment or information.”

21   FED. R. CRIM. P. 7(d). “The purpose of a motion to strike under Fed. R. Crim. P. 7(d) is to

22   protect a defendant against prejudicial or inflammatory allegations that are neither relevant

23   nor material to the charges.” United States v. Terrigno, 838 F.2d 371, 373 (9th Cir. 1988).

24          Here, the court finds that the listed allegations at issue are relevant to establishing

25   defendants’ scheme and artifice to defraud in support of the mail and wire fraud charges. The

26
                                                     5
     Case 3:08-cr-00006-LRH-WGC             Document 187         Filed 12/16/10      Page 6 of 6




 1   Government may offer evidence to prove these allegations at trial. Defendants argument that

 2   the Government is without evidence to support these allegations is a matter of fact for the

 3   jury and does not support striking material from an indictment which is relevant to the

 4   charges identified therein. Accordingly, the court shall deny defendants’ motion challenging

 5   surplusage in the superseding indictment.

 6   VII.   Second Motion to Extend Pretrial Deadline (Doc. #171)

 7          Defendants request a further extension of the pretrial deadline to file additional

 8   “clerical” motions. In light of the court’s previous extension of the pretrial deadline,

 9   defendants’ failure to identify why the additional “clerical” motions could not have been

10   filed along with the present pretrial motions, and the pending trial currently scheduled for

11   February 8, 2010, the court shall deny defendants’ second motion to extend the pretrial

12   deadline.

13

14          IT IS THEREFORE ORDERED that defendants’ motion challenging defects in

15   superseding indictment (Doc. #166), motion requesting discovery (Doc. #167), motion to

16   unseal grand jury transcripts (Doc. #168), motion for return of property (Doc. #169), motion

17   challenging surplusage (Doc. #170), and second motion to extend pretrial deadline

18   (Doc. #171) are DENIED.

19          IT IS SO ORDERED.

20          DATED this 16th day of December, 2010.

21

22
                                                         __________________________________
23                                                       LARRY R. HICKS
                                                         UNITED STATES DISTRICT JUDGE
24

25

26
                                                     6
